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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                             JACKSONVILLE DIVISION

DOLORES MARTIN,

       Plaintiff,

vs.                                                CASE NO.: 3:15-cv-01292-HES-PDB

ONE ADVANTAGE, LLC f/k/a
FIRSTSOURCE ADVANTAGE, LLC

      Defendant.
 _______________________________________/

                             NOTICE OF PENDING SETTLEMENT

       Plaintiff, DOLORES MARTIN, by and through her undersigned counsel, hereby notifies

the Court that the parties, Plaintiff, DOLORES MARTIN, and Defendants, ONE

ADVANTAGE, LLC f/k/a FIRSTSOURCE ADVANTAGE, LLC, INC., have reached a

settlement with regard to this case, and are presently drafting, and finalizing the settlement

agreement, and general release documents. Upon execution of the same, the parties will file the

appropriate dismissal documents with the Court.




                                                   /s/ Frank H. Kerney, III_______________
                                                   FRANK H. KERNEY, III, ESQUIRE
                                                   Florida Bar#: 88672
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                                                   Attorney for Plaintiff
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                             CERTIFICATE OF SERVICE
      I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished
by Electronic Mail on April 1, 2016 to all parties of record, including: Armando P. Rubio,
Esquire, Fields Howell, LLP, 9155 South Dadeland Blvd., Suite 1012, Miami, FL 33156
(arubio@fieldshowell.com; aduarte@fieldshowell.com).



                                                /s/ Frank H. Kerney, III_______________
                                                FRANK H. KERNEY, III, ESQUIRE
                                                Florida Bar#: 88672
